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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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ALONZO and STEPHANIE GRANT,

                               Plaintiffs,


              v.                             5:15-CV-445


CITY OF SYRACUSE; DAMON LOCKETT,
Police Officer; PAUL MONTALTO, Police
Officer; BRIAN NOVITSKY, Police Officer;
and FRANK FOWLER, Chief of Police,

                               Defendants.

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APPEARANCES:                                 OF COUNSEL:

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DAVID N. HURD
United States District Judge


                                      DECISION and ORDER

         On April 14, 2015, plaintiffs Alonzo and Stephanie Grant ("plaintiffs") filed this civil

rights action seeking compensatory and punitive damages, as well as declaratory relief for

injuries arising out of an incident at their house in the City of Syracuse on the evening of

June 28, 2014, which led to Alonzo's arrest.1

         Shortly thereafter, on May 19, 2015, plaintiffs filed an amended complaint. Plaintiffs'

amended complaint asserts nineteen causes of action against various named and unnamed

City of Syracuse Police Officers. The amended complaint alleges various federal and state

law violations of the Grants' civil rights along with other tort claims.

         The parties engaged in mandatory mediation which was unsuccessful. They then

engaged in lengthy discovery including motion practice related to multiple discovery issues.

         On March 21, 2017, defendants collectively moved for summary judgment. The

motion was fully briefed, including supplemental briefing on two of Alonzo's claims. The

motion was considered on its submissions and without oral argument.

         In a detailed opinion dated November 17, 2017, Judge Kahn granted in part and

denied in part defendants' motion for summary judgment. Grant v. City of Syracuse,

5:15-CV-445, 2017 WL 5564605 (N.D.N.Y. Nov. 17, 2017) (Kahn, S.J.). Judge Kahn granted

the summary judgment motion as to the following claims: Alonzo's § 1983 malicious

prosecution claim; Alonzo's § 1985 claim; Alonzo's § 1986 claim; Alonzo's state law claim for


          1
           This case was initially assigned to Senior United States District Judge Lawrence E. Kahn but
  was recently transferred to the undersigned.


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defamation; Stephanie's state law claim for negligent infliction of emotional distress; plaintiffs'

state law claim for intentional infliction of emotional distress; plaintiffs' state law claim for

trespass with respect to defendants Montalto and Novitsky; and plaintiffs' state law claim for

negligent hiring, retention, and supervision. As a result, Judge Kahn dismissed those claims.

He also dismissed the Syracuse Police Department and "Does 1-100" as defendants in this

action. Judge Kahn otherwise denied the motion for summary judgment.

          Following summary judgment, the following claims remained for trial: Alonzo's

§ 1983 claim for false arrest; Alonzo's § 1983 claim for excessive force; Alonzo's state law

claim for assault and battery; Alonzo's state law claim for false imprisonment; Stephanie's

§ 1983 claim for false imprisonment; Stephanie's state law claim for loss of consortium; both

plaintiffs' § 1983 claim of unlawful entry against Lockett; both plaintiffs' state law claim for

trespass against Lockett; and both plaintiffs' § 1983 claim pursuant to Monell v. Department

of Social Services of City of New York, 436 U.S. 658 (1978) against the City of Syracuse for

failure to train, supervise, or discipline police officers.

          Judge Kahn later scheduled trial in this matter for October 2, 2018, with pre-trial

submissions due on or before September 18, 2018. Additional disputes among the parties

followed.

          Ultimately, on July 2, 2018, defendants filed a motion pursuant to Federal Rule of

Civil Procedure 42(b) seeking to bifurcate liability, the Monell claim, and damages. That

motion has been fully briefed and is now pending.2 It has been considered on the

submissions, without oral argument.


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            Defendants have also filed a motion in limine to preclude at trial plaintiffs' expert report and
   testimony. That motion has also now been fully briefed and will be considered in a separate Decision
   and Order.

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         Specifically, defendants seek an order bifurcating liability from damages and also

bifurcating plaintiffs' claims against the individual defendants from plaintiffs' derivative Monell

municipal liability claim against the City of Syracuse. They argue convenience, efficiency,

and the avoidance of prejudice all weigh heavily in favor of bifurcation. Defendants largely

take issue with the substantial amount of damages evidence that plaintiffs have proposed,

namely multiple treating physicians and clinical non-retained experts whom will present

evidence as to plaintiffs' psychiatric, neurological, and orthopedic injuries. Plaintiffs oppose

defendants' motion and contend defendants have failed to make the requisite showing of

undue prejudice sufficient to invoke the exception of bifurcation.

         "For convenience, to avoid prejudice, or to expedite and economize, the court may

order a separate trial of one or more separate issues, claims, crossclaims, counterclaims, or

third-party claims." Fed. R. Civ. P. 42(b). When faced with a motion for bifurcation, a court

should consider several factors, including whether "such an order will further convenience,

avoid prejudice, or promote efficiency." Amato v. City of Saratoga Springs, N.Y., 170 F.3d

311, 316 (2d Cir. 1999). "The party seeking bifurcation bears the burden of establishing that

bifurcation is warranted." Dallas v. Goldberg, 143 F. Supp. 2d 312, 315 (S.D.N.Y. 2001).

         Defendants have failed to meet their burden demonstrating that bifurcation is

warranted in this matter. Instead, in an excessive force claim, plaintiffs' damages are

relevant to the liability question of whether the force used by the defendant officers was

excessive. Further, where evidence for liability and damages are intertwined, as is the case

here, judicial economy would actually be diminished by bifurcation. Moreover, plaintiffs'

encounter with the individual defendant officers is related to plaintiffs' claim of deliberate

indifference on the part of the City of Syracuse. Finally, curative instructions, appropriate jury


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charges, and special verdict forms are well established means of preempting a jury's

inclination to rely on prejudice, sympathy, or bias in their deliberations.

         Accordingly, defendants' motion to bifurcate will be denied. Trial remains scheduled

for October 2, 2018, in Utica, New York with pre-trial papers due on or before noon on

September 18, 2018. Finally, a pre-trial conference will be held on September 25, 2018, in

Utica, New York.

         Therefore, it is

         ORDERED that

         1. Defendants' motion to bifurcate is DENIED;

         2. Trial remains scheduled for October 2, 2018, in Utica, New York with pre-trial

papers due on or before noon on September 18, 2018; and

         3. A final pre-trial conference will be held on September 25, 2018, in Utica, New

York.

         IT IS SO ORDERED.




         Dated: August 29, 2018
                Utica, New York.




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